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SF“-ED BY ___

D.C.
IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNEssEE 95 AUG 31 PH 3, 53
wEsTERN DIvIsION

 

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ANN M. PoPE-GUY, ""`#L-" if if;-X=‘L.!?H§S

Plaintiff,
vS. NO. 05-2085-D/P

MEMPHIS HOUSING AUTHORITY,

>'<>-<>-<>-<>-<><><>'<>-<

Defendant.

 

ORDER GRANTING LEAVE TO PROCEED _I§ F'ORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE F'ILING FEE

 

Plaintiff, Ann M. Pope-Guy, filed this ppg sp complaint along
with a motions to proceed ip ;p;m pauperis and for appointment of
counsel. The motion to proceed lp ;p;ma pauperis is GRANTED. The
Clerk of Court shall file the case and record the defendant as the
Memphis Housing Authority. The Clerk shall not issue process or
serve any papers in this case.

A district court is vested with broad discretion in
determining whether to appoint counsel for an indigent civil
litigant. See Lavado v. Keohane, 992 F.2d 601, 604*05 (6th Cir.
1993). Notably, however, appointment of counsel in a civil case is
not a constitutional right, and courts generally do not appoint
counsel in a civil case absent a showing of "exceptional
circumstances." ;dp at 605-06. In determining whether an
appointment is warranted, courts evaluate the type of case, the

complexity' of the factual and legal issues involved,

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with Rule 58 and ."Q(a', i §.&¢3 on

 

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ability of the litigant to represent himself. §§e igp at 606;
Kilgo v. Ricks, 983 F.2d 189, 193 (11th Cir. 1993)("The key [to
determining whether exceptional circumstances exist] is whether the
ppg §§ litigant needs help in presenting the essential merits of
his or her position to the court. Where the facts and issues are
simple, he or she usually will not need such help.") Appointment
of counsel in a civil case is not appropriate when a litigant's
claims are frivolous, or when the chances of success are extremely

slim. See Lavado, 992 F.2d at 604-05; Maclin v. Freake, 650 F.2d

 

885, 887 (7th. Cir. 1981)("[B]efore the court is justified. in
exercising its discretion in favor of appointment, it must first
appear that the claim has some merit in fact and law.").

The Court concludes that an appointment of counsel is not
warranted. As explained below, plaintiff's complaint is to be
dismissed; therefore her' motion for appointment of counsel is
DENIED .

Plaintiff sues the Memphis Housing Authority (“MHA”). She
alleges that on July 23, 2003, the elevator was not working at her
place of residence, the Jefferson Square Apartments, a building
managed by the defendant MHA. A storm on July 22, 2003, left the
building with no electricity. Plaintiff alleges that a generator
was operating which provided lighting in the stairs and hallways.
Plaintiff fell in the stairwell and sustained injuries to her leg.

Plaintiff alleges that the elevator was inoperable unless
staff used the emergency key to take residents to their floor.

Plaintiff alleges that building manager made arrangements for all

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residents who needed the elevator to use it, with the exception of
plaintiff. Plaintiff alleges that she attempted. to give the
building manager a doctor's statement on July 16, 2003, to excuse
her from using the stairs in the event of a fire drill.l She
alleges that Defendant MHA required a doctor's excuse demonstrating
that a resident could not walk down the stairs to be exempt from
fire drills.

Plaintiff filed a lawsuit for her injuries in Shelby County
General Sessions Court. §g§ Anna M. Pooe*Guv v. Memphis Housinq
Authority, No. 1040479. Plaintiff alleges that she “feel[s] that
[she] cannot get a fair hearing in General Session[s] Court" where
“[a] Judge already have [sic] called [her] case frivolous.”
Plaintiff further alleges that she “did not want to file [her] case
in General Session[s] Court but Memphis Area Legal Service advice
[sic] [her] to do so.” Plaintiff retained the services of Local
Attorney Stanley H. Less. However, because Mr. Less recommended
that plaintiff settle her case, she discharged him on February 16,
2005. Plaintiff's case was set for trial on March 23, 2005.
Plaintiff was unable to retain the services of another attorney and
sought a continuance. Defense counsel opposed the continuance,
citing plaintiff's failure to co»operate with discovery and her
action in discharging her attorney. Plaintiff alleges, however,

that the trial judge told her that “when your case is set for

 

1 Plaintiff was not exiting the building for a fire drill and does not

allege that she attempted to contact the manager or any supervisory MHA.personnel
on July 23, 2003, prior to her trip down the stairs. She does not allege that
she made any further attempts to present her doctor's statement before the storm
on July 22, 2003.

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trial, you do not fire your lawyer; you do that at your own peril.”
Plaintiff states that the Judge then dismissed her case. Plaintiff
did not file an appeal. Rather, Pope-Guy filed this lawsuit
seeking the “mercy of the Court and ask [sic] that the Court please
look over [her] complaint and please take [her] case.”

The claims presented in this complaint are fully within the
scope of Pope~Guv v. Memphis Housinq Authoritv, No. 1040479, and
are barred by res judicata, or claim preclusion. “A final judgment
on the merits of an action precludes the parties or their privies
from relitigating issues that were or could have been raised in
that action." Federated DeDt. Stores, Inc. v. Moitie, 452 U.S.
394, 398 (1981). To apply the doctrine of res judicata, three
elements must be present: (l) judgment on the merits in an earlier
action; (2) identity of the parties or their privies in the two
suits; and (3) identity of the cause of action or claims between
both suits. Blonder-Tongue Laboratories v. Univ. of Ill.
Foundation, 402 U.S. 313, 323»24 (1971); Brzostowski v. Laidlaw
Waste Sys.l Inc., 49 F.3d 337, 338 (7th Cir. 1995); Wade v. Hopper,
993 F.2d 1246, 1252 (7th Cir. 1993). These factors unquestionably
exist in this case. Plaintiff previously sued the defendant and
the state court granted the defendant's motion to dismiss.

Furthermore, the crux of the complaint is plaintiff‘s
displeasure with the result of state court lawsuit. Plaintiff may
not attack the state court proceedings or judgment in a collateral
proceeding in federal court. This would amount to obtaining review

in this court of the decision of a Tennessee court. Any claim

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arising from the manner in which those proceedings were litigated
should have been presented in that forum.
United States district courts . . . do not have
jurisdiction[]over'challenges to state-court decisions in
particular cases arising out of judicial proceedings even
if those challenges allege that the state court's action
was unconstitutional. Review of those decisions may be
had only in this [the United States Supreme] Court. 28
U.S.C. § 1257.
District of Columbia Court of Appeals v. Feldman, 460 U.S. 462,
482-83, 486 (1983). See also Rooker v. Fidelitv Trust Co., 263
U.S. 413, 416 (1923)(federal district courts lack jurisdiction to
review or modify a judgment of a state's highest court). In short,
"[l]ower federal courts possess no power whatever to sit in direct
review of state court decisions." Cleveland Surqi-Center v. Jones,
2 F.3d 686, 691 (6th Cir. 1993). Similarly,
federal courts have no authority' to issue writs of
mandamus to direct state courts or their judicial
officers in the performance of their duties. Clark v.
Washington, 366 F.2d 678 (9th Cir. 1966); Campbell v.
Washinqton State Bar Ass'n, 263 F. Supp. 991 (W.D. Wash.
1967).
Haggard v. State of Tennessee, 421 F.2d 1384, 1386 (6th Cir. 1970).
Thus, this Court either lacks jurisdiction or must abstain from
exercising any jurisdiction over plaintiff's claim for relief from
the state judgment.
Thus, this complaint is barred by res judicata and fails to
state a claim upon which relief may be granted. Accordingly, the

complaint lacks an arguable basis either in law or in fact and is,

therefore, frivolous. See Denton v. Hernandez, 504 U.S. 25, 31

 

(1992); Neitzke V. Williams, 490 U.S. 319, 325 (1989).

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Accordingly, the complaint is DISMISSED pursuant to 28 U.S.C. §§
1915(e)(2)(B)(i) and (ii).

The final issue to be addressed is whether plaintiff should be
allowed to appeal this decision pp fp;mg pauperis. Twenty~eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken pp
fppmg pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp Accordingly,
it would be inconsistent for a district court to determine that a
complaint is too frivolous to be served, yet has sufficient merit
to support an appeal pp ;p;pg pauperis. §pp Williams v. Kullman,
722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same considerations
that lead the Court to dismiss this case for failure to state a
claim and as frivolous compel the conclusion that an appeal would
be frivolous.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § l915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith and plaintiff may not proceed on appeal ip fp;ma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997), and Floyd v. United
States Postal Service, 105 F.3d 274 (6th Cir. 1997), apply to any

appeal filed by the plaintiff in this case.

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If plaintiff files a notice of appeal, she must pay the entire
$255 filing fee required by 28 U.S.C. §§ 1913 and 1917.2 The
entire filing fee must be paid within thirty days of the filing of
the notice of appeal.

By filing a notice of appeal the plaintiff becomes liable for
the full amount of the filing fee, regardless of the subsequent
progress of the appeal. If the plaintiff fails to comply with the
above assessment of the appellate filing fee within thirty days3of
the filing of the notice of appeal or the entry of this order,
whichever occurred later, the district court will notify the Sixth
Circuit, who will dismiss the appeal. If the appeal is dismissed,

it will not be reinstated once the fee is paid. McGore, 114 F.3d

 

 

 

at 610.
IT ls so oP_DERED this 3d day of August, 2005.
. NALD
TED STATES DISTRICT JUDGE
2 The fee for docketing an appeal is $250. §§§ Judicial Conference

schedule of Fees, 1 l, Note following 29 U.S.c. § 1913. Under 28 U.s.c. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of. an appeal or of a writ of certiorari $5
shall be paid to the Clerk of the district courtl by the appellant
or petitioner.

3 The district court may extend this deadline one time by thirty days
if the motion to extend is filed within the meaning of Houston v. Lack, 487 U.S.
266 (1988), and Fed. R. App. P. 4(c) before the expiration of the original
deadline. McGore, 114 F.3d at 610.

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02085 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

Ann M. Pope-Guy
741 Adams Ave. #1307
i\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

